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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                           )
                                                       )
                                 Plaintiff,            )
                                                       )
                        vs.                            )       1:14-cr-00096-SEB-TAB
                                                       )
   CHRISTY N. WALKER,                                  )                -14
                                                       )
                                 Defendant.            )



                 ORDER ADOPTING REPORT AND RECOMMENDATION

        Having reviewed Magistrate Judge Tim A. Baker’s Report and Recommendation that

 Christy N. Walker’s supervised release be revoked, pursuant to Title 18, U.S.C. §3401(i) and

 Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, The Court now

 approves and adopts the Report and Recommendation as the entry of the Court, and orders a

 sentence imposed of imprisonment of four (4) months in the custody of the Attorney General or

 his designee, with no supervised release to follow.

 SO ORDERED.


                                              _______________________________
                     4/29/2016
                                              SARAH EVANS BARKER, JUDGE
                                              United States District Court
                                              Southern District of Indiana

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